

Matter of Scott S. v Stefanie L. (2020 NY Slip Op 07729)





Matter of Scott S. v Stefanie L.


2020 NY Slip Op 07729


Decided on December 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 22, 2020

Before: Acosta, P.J., Oing, Scarpulla, Mendez, JJ. 


Docket No. F-52523/15/18B Appeal No. 12719 Case No. 2020-03044 

[*1]In re Scott S., Petitioner-Appellant,
vStefanie L., formerly known as Stefanie S., Respondent-Respondent.


Scott Stein, appellant pro se.
Stephanie Levine, respondent pro se.



Order, Family Court, New York County (Jonathan H. Shim, J.), entered on or about February 3, 2020, which denied petitioner father's objection to an order, same court (Melvin C. Dalere, Support Magistrate), entered on or about July 23, 2019, which dismissed the petition for a downward modification of child support, unanimously affirmed, without costs.
Petitioner failed to show a substantial change in circumstances warranting a downward modification of his child support obligation (Family Court Act § 451[3][a]; see Matter of Boden v Boden, 42 NY2d 210, 213 [1977]; Matter of Jurgita C. v Manuel O., 176 AD3d 402 [1st Dept 2019]). The record does not support petitioner's contention that the court ignored critical evidence. As petitioner was unemployed when he voluntarily entered into the previous modification, and remained unemployed, his unemployed status was not a substantial change in circumstances. Indeed, his income remained substantially the same. Moreover, although his assets were reduced, petitioner did not lack the means to pay his monthly child support or the ability to generate income (see Matter of Flanigan v Smyth, 90 AD3d 1107, 1108-1109 [3d Dept 2011]; Matter of Silver v Reiss, 74 AD3d 1441, 1442 [3d Dept 2010]).
We have considered the father's remaining arguments and find them unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 22, 2020








